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                          EXHIBIT A
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  From: US Pardon Attorney(imailagent) <uspardon.attorney@usdoj.gov>
  Sent: Monday, December 2, 2024 1:50:24 PM
  To: Weiss, David (USADE) <DWeiss@usa.doj.gov>

  Subject: Robert Hunter Biden - Grant Notification for Presidential Pardon (Intranet Quorum
  IMA00921233)

  December 2, 2024
  MEMORANDUM
   TO:          David C. Weiss
                United States Attorney
   FROM:        Pardon Attorney
                Office of the Pardon Attorney
   SUBJECT:     Robert Hunter Biden
                Docket Nos. 1:23-cr-00061-MN (Delaware) & 2:23-CR-00599-MCS-1
                (Central California)
                Recipient of Presidential Pardon

  On December 1, 2024, the President granted Robert Hunter Biden a full and unconditional pardon
  after completion of sentence. Please make an appropriate notation in your records and with the
  court. Please also note that this action was not processed via application through our Office.
     Offense:      For those offenses against the United States which he has committed or may
                   have committed or taken part in during the period from January 1, 2014 through
                   December 1, 2024, including but not limited to all offenses charged or
                   prosecuted (including any that have resulted in convictions) by Special Counsel
                   David C. Weiss in Docket No. 1:23-cr-00061-MN in the United States District
                   Court for the District of Delaware and Docket No. 2:23-CR-00599-MCS-1 in the
                   United States District Court for the Central District of California.
     Date:         N/A


     Sentence:   N/A


     District:   Delaware & Central California
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